Case 1:05-cv-OlO47-.]DT-STA Document 4 Filed 07/14/05 Page 1 of 2 Page|D 1

lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION F l L E D BY
WlLLlE ALEXANDER, ) JUL 1 4 2005
) Thomas M. Gould, Cl¢rk
u. s. Dismct coun
Plaintif`f`, ) w. D.oF TN,Jacnson
)
VS. ) No. 05-lO47-T-An
)
TENNESSEE DEPARTMENT )
OF CORRECTION, )
)
Def`endant. )

 

ORDER DENYING MOTION TO SET

 

Plaintiff, a prisoner, filed this pro se action on February 23, 2005. He has now filed
a motion, asking that "these filings be heard as soon as possible or at this court’s earliest
convenience." Plaintiff` s complaint has been submitted f`or screening pursuant to the local
rules of this court. Plaintiff` will be notified of the court’s decision in due coursel
Accordingly, the motion to set is DENIED.

lT lS SO ORDERED.

QQWZ)M

D. TODD
UANI ED STATES DISTRICT JUDGE

/V%MS/

"?s document entered on the docket sheet in compliance DATE
1 mile 138 andfor 79 {a) FPCP on o i' E_H_,..m____

lesTRICT C URT - WESTRNE D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 4 in
case l:OS-CV-OlO47 Was distributed by f`aX, mail, or direct printing on
July lS, 2005 to the parties listed.

 

 

Willie AleXander

Northwest Correction Center
#l 14357

960 State Route 212
Tiptonville7 TN 38079

Honorable .l ames Todd
US DISTRICT COURT

